Case 2:05-CV-02423-SHI\/|-tmp Document 9 Filed 06/30/05 Page 1 of 2 Page|D 8

 

 

 

 

HHR)BY
IN THE UNITED STATES DISTRICT COURT - \-_._ D.C_
FOR THE WESTERN DISTRICT OF TENNESSEE DSJU~
WESTERN DIVISION 39 PH 2.- L,?
Tilhl.
IFUWH M, f‘ 1
CHERYL FOLLOWELL, Q§?,%L!~S.TSD?='CT(I)UR;
1 OF 151¢,¢,§§,-'\,-#>;§3
Appellant,
VS. NO. 05*2423-MaP
GEORGE E. MILLS, JR.,
Appellee.
OR_DER GR_ANTING MOTION TO SUPPLEMENT RECORD ON APPEAL
Before the court is appellee's June 23, 2005, unopposed
motion to supplement the record on appeal by adding Docket Entry
60 from Bankruptcy Court Adv. No. 04-00335. For good cause
shown, the motion is granted and Appellee may supplement the
record on appeal.
. . 3°
It is so ORDERED this day of June, 2005.
SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE
\m"gL

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CV-02423 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

